   Case 1:24-cv-03285-SHS-OTW        Document 296     Filed 02/21/25   Page 1 of 6




                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK

 THE NEW YORK TIMES COMPANY,

                     Plaintiff,                     Civil Action No.
                                                    1:23-cv-11195 (SHS) (OTW)
                         v.

 MICROSOFT CORPORATION, OPENAI, INC.,
 OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
 OPENAI OPCO LLC, OPENAI GLOBAL LLC,
 OAI CORPORATION, LLC, and OPENAI
 HOLDINGS, LLC,

                    Defendants.

 DAILY NEWS, LP; THE CHICAGO TRIBUNE
 COMPANY, LLC; ORLANDO SENTINEL
 COMMUNICATIONS COMPANY, LLC; SUN-                  Civil Action No.
 SENTINEL COMPANY, LLC; SAN JOSE                    1:24-cv-03285 (SHS) (OTW)
 MERCURY-NEWS, LLC; DP MEDIA NETWORK,
 LLC; ORB PUBLISHING, LLC; AND
 NORTHWEST PUBLICATIONS, LLC,

                     Plaintiffs,

                         v.

 MICROSOFT CORPORATION, OPENAI, INC.,
 OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
 OPENAI OPCO LLC, OPENAI GLOBAL LLC,
 OAI CORPORATION, LLC, and OPENAI
 HOLDINGS, LLC,

                    Defendants.



   PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY IN OPPOSITION TO
                   DEFENDANTS’ MOTIONS TO DISMISS

      Plaintiffs The New York Times Company; Daily News, LP; The Chicago Tribune

Company, LLC; Orlando Sentinel Communications Company, LLC; Sun-Sentinel Company, LLC;

San Jose Mercury-News, LLC; DP Media Network, LLC; ORB Publishing, LLC; and Northwest



                                          1
    Case 1:24-cv-03285-SHS-OTW                     Document 296            Filed 02/21/25          Page 2 of 6




Publications, LLC (collectively “Plaintiffs”), by and through their undersigned counsel,

respectfully submit this Notice of Supplemental Authority to apprise the Court of a recent order

that further supports Plaintiffs’ Oppositions to Defendants’ pending Motions to Dismiss.1

         Following his “bottom-line order” issued on November 21, 2024, in The Intercept Media,

Inc. v. OpenAI et al., No. 24-cv-01515-JSR (S.D.N.Y.), Judge Rakoff issued an opinion and order

on February 20, 2025, allowing The Intercept’s claim under 17 U.S.C. § 1202(b)(1) to proceed

against OpenAI. See Opinion and Order, The Intercept Media, No. 24-cv-01515-JSR, Dkt. 127

(the “Order”). The Order is attached hereto as Exhibit A.

         Judge Rakoff found that The Intercept pleaded a concrete injury sufficient to confer Article

III standing because “Intercept’s claims in this case implicate the same kind of property-based

harms traditionally actionable in copyright,” Order at 14, and “the harm faced by The Intercept—

in the form of defendants’ alleged interference with its property right—implicates the same

incentives to create that justify traditional copyright,” id. at 16. Here, in addition to copyright

infringement claims, Plaintiffs have alleged very similar Section 1202(b)(1) claims arising from

Defendants’ removal of CMI from Plaintiffs’ copyrighted news articles contained in the training

datasets. Compare id. at 18-19 (“The Intercept specifically alleges that defendants removed CMI

from its articles reproduced in the training sets, which concealed their own systematic practice of

copyright infringement and facilitates infringement by ChatGPT users.”) with Daily News Compl.

(Dkt. 1 in Case No. 24-cv-03285) at ¶ 159 (“The Defendants knew that by removing the Publishers’

CMI, the CMI would not be retained within the GPT models and/or displayed when the GenAI



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  OpenAI’s Motion to Dismiss and Microsoft’s Motion to Dismiss against The Times are filed at Dkt. 51 and 64,
respectively, and The Times’s Oppositions to those Motions are filed at Dkt. 73 and 76, respectively, in case No. 23-
cv-11195. Microsoft’s Motion to Dismiss and OpenAI’s Motion to Dismiss against the Daily News Plaintiffs are
filed at Dkt. 76 and 80, respectively, and the Daily News Plaintiffs’ Oppositions to those Motions are filed at Dkt. 98
and 100, respectively, in case No. 24-cv-03285.



                                                           2
   Case 1:24-cv-03285-SHS-OTW             Document 296        Filed 02/21/25      Page 3 of 6




products disseminate unauthorized copies of the Publishers’ Works to end-users, and thereby

would conceal the Defendants’ own infringement as well as induce, enable, facilitate, or conceal

end-users’ infringement resulting from their operation of the Defendants’ GenAI products.”) and

The New York Times First Am. Compl. (Dkt. 170 in Case No. 23-cv-11195) at ¶ 125; see also Daily

News Compl. (Dkt. 1) at ¶¶ 160-163 (discussing Dragnet and Newspaper content extractors).

       Turning to the merits of the claims, Judge Rakoff found that The Intercept sufficiently

pleaded a Section 1202(b)(1) claim based on OpenAI’s knowledge of “downstream infringement,”

namely, “its facilitation of ChatGPT users’ downstream infringement of regurgitations of its

articles produced in ChatGPT outputs.” Order at 22-24. This theory of downstream infringement

is also present in Plaintiffs’ Complaints. See, e.g., Daily News Compl. ¶¶ 160-169; see id. ¶ 168

(citing example of regurgitated output that “expressly encourages an end-user to republish a copy

of a New York Daily News article”); The New York Times First Am. Compl. ¶¶ 186-187.

       Judge Rakoff, however, dismissed The Intercept’s Section 1202(b)(1) claim against

Microsoft because The Intercept’s complaint did not include “the factual specificity supporting

The Intercept’s § 1202(b)(1) claim against OpenAI (e.g., . . . the examples of regurgitations).”

Order at 25. By contrast, Plaintiffs’ Complaints contain specific examples of output of Plaintiffs’

articles from Microsoft’s Copilot product with Plaintiffs’ CMI removed. See, e.g., Daily News

Compl. ¶¶ 165 (citing example output “containing the entire text of [a] New York Daily News

article”), 168 (citing example output that “expressly encourages an end-user to republish a copy

of a New York Daily News article”); see also The New York Times First Am. Compl. ¶¶ 112, 115.

       Finally, Judge Rakoff dismissed The Intercept’s Section 1202(b)(3) claims against both

Microsoft and OpenAI because the complaint “includes no factual support for its allegation that

Microsoft and OpenAI distributed its articles”—or more specifically, that Microsoft shared copies




                                                3
   Case 1:24-cv-03285-SHS-OTW            Document 296        Filed 02/21/25     Page 4 of 6




of The Intercept’s articles without CMI with the OpenAI defendants, or vice versa. Order at 26.

By contrast, Plaintiffs allege Section 1202(b)(3) claims based on the output from Defendants’

products of Plaintiffs’ articles with the CMI removed. See, e.g., Daily News Compl. ¶¶ 165, 168

and Exhibit J; The New York Times First Am. Compl. ¶¶ 112, 115, 118, and Exhibit J. The Order

does not address this theory of liability under Section 1202(b)(3) because The Intercept did not

plead it.


Dated: February 21, 2025                    /s/ Ian Crosby

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                                               4
Case 1:24-cv-03285-SHS-OTW   Document 296     Filed 02/21/25   Page 5 of 6




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                                 5
Case 1:24-cv-03285-SHS-OTW   Document 296      Filed 02/21/25     Page 6 of 6




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                                 6
